         Case 18-32106 Document 156 Filed in TXSB on 05/30/18 Page 1 of 3



                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION
                                 §
In re:                           §                          Chapter 11
                                 §
ERIN ENERGY CORPORATION, et al., §                          Case No. 18-32106
                                 §
                                 §                          (Jointly Administered)
          Debtors. 1             §
                                 §


                          NOTICE OF DEPOSITION OF DIPPO BELLO

         PLEASE TAKE NOTICE that pursuant to the Court’s Order set forth on the record at the

telephonic hearing on May 30, 2018 at 3:45 p.m., Public Investment Corporation Soc. Ltd. will

take the deposition of Dippo Bello on May 31, 2018 at 8:30 a.m. (Central Time).

         PLEASE TAKE FURTHER NOTICE that the deposition will take place at the law offices

of Vinson & Elkins, LLP, 1001 Fannin Street, Suite 2500, Houston, Texas 77002. The deposition

will be recorded stenographically by a certified court reporter. Parties that desire to listen in

telephonically may email ageppert@velaw.com to obtain dial-in information.




1
        The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The
other Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
Texas 77056.

                                                       1
      Case 18-32106 Document 156 Filed in TXSB on 05/30/18 Page 2 of 3




Dated: May 30, 2018
                                   VINSON & ELKINS LLP

                                   /s/ Bradley R. Foxman
                                   Rebecca L. Petereit (Texas Bar No. 24062776)
                                   Bradley R. Foxman (Texas Bar No. 24065243)
                                   VINSON & ELKINS LLP
                                   Trammell Crow Center
                                   2001 Ross Avenue, Suite 3700
                                   Dallas, Texas 75201-2975
                                   Tel: (214) 220-7700
                                   rpetereit@velaw.com
                                   bfoxman@velaw.com

                                   - and -

                                   Laura R. Hall (pro hac vice pending)
                                   Ken Coleman (pro hac vice pending)
                                   ALLEN & OVERY LLP
                                   1221 Avenue of the Americas
                                   New York, New York 10020
                                   Tel: (212) 610-6300
                                   Laura.Hall@AllenOvery.com
                                   Ken.Coleman@AllenOvery.com

                                   COUNSEL FOR PUBLIC INVESTMENT
                                   CORPORATION SOC. LTD.




                                      2
       Case 18-32106 Document 156 Filed in TXSB on 05/30/18 Page 3 of 3




                              CERTIFICATE OF SERVICE

        I certify that on May 30, 2018, I caused a copy of the foregoing document to be served
upon filing via the Court’s CM/ECF electronic system on all parties subscribing thereto.

                                           /s/ Bradley R. Foxman
                                           One of Counsel




                                              3
